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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUÑIZ,
  MARCUS MARTIN, NATALIE ROMERO,
  CHELSEA ALVARADO, JOHN DOE, and
  THOMAS BAKER,                                             Civil Action No. 3:17-cv-00072-NKM
                                 Plaintiffs,
                                                                 JURY TRIAL DEMANDED
          v.
  JASON KESSLER, et al.,
                                 Defendants.


         [PROPOSED] SUPPLEMENTAL ORDER REGARDING PUBLIC ACCESS

         WHEREAS the jury trial in this case is scheduled to be conducted from October 25 to

 November 19, 2021;

         WHEREAS the Court issued a COVID-19 Health Precautions Order on October 4, 2021,

 pertaining to certain precautionary procedures regarding the trial of this matter, see ECF No. 1146;

         WHEREAS the Court finds that the following modified procedures pertaining to public

 access to the Courthouse will additionally promote a safe preparation for and conduct of the trial

 in this case;

         It is hereby ORDERED as follows:

         1.      In lieu of an overflow room for fifteen (15) individuals, as described in the Court’s

                 prior order, see ECF 1146, public access to the proceedings will be made possible

                 through telephone lines dedicated to members of the public and the press. There

                 will be no overflow room inside the Courthouse.

         2.      Any members of the media may listen to livestreamed audio of the trial on the
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               designated “press” telephone line provided by the Court. Instructions to listen to

               trial audio will be provided to members of the media upon request.

        3.     Members of the public may listen to livestream audio of the trial on the dedicated

               “public” telephone line provided by the Court. Instructions to listen to trial audio

               will be posted on a notice on the Court’s website as well as on the docket.

        4.     The parties and their counsel, if not present in person inside the Courtroom

               consistent with the Court’s COVID-19 Health Precautions Order, ECF 1146, will

               be provided access to a Zoom audio link to listen to the livestream of the trial

               proceedings from a remote location.

        5.     Before speaking at any microphone, each counsel and witness will place a

               transparent microphone cover over the microphone.            Each counsel and each

               witnesses will be asked to remove the microphone cover once they are done

               speaking and, before beginning to speak, the next speaker shall protect the

               microphone with a clean microphone cover.

        This Supplemental Order is intended to amend but not replace the COVID-19 Health

 Precautions dated October 4, 2021.



        It is so ORDERED.

        The Clerk of Court is directed to send a certified copy of this Order to the parties.

        Date: October ___, 2021


                                                      Hon. Norman K. Moon
                                                      Senior United States District Judge




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